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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 0:17-CV-60311-WPD

  JANICE PARSON,

                  Plaintiff,
  vs.

  PENNYMAC LOAN SERVICES, LLC,

              Defendant.
  ________________________________________/

        JOINT STIPULATION FOR FINAL ORDER OF DISMISSAL WITH PREJUDICE

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and having amicably resolved all matters in

  controversy, the parties jointly stipulate to a Dismissal with Prejudice of this action with each party

  to bear its own attorney’s fees and costs. The Court is respectfully requested to retain jurisdiction

  solely for the purpose of enforcing the settlement agreement should the need arise. See Anago

  Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012).




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                           CONSENT OF COUNSEL FOR DEFENDANT

          Pursuant to Rule 3J (3) of the Administrative Procedures of the United States District Court

  for the Southern District of Florida, the undersigned counsel for Plaintiff represents to the Court

  that counsel for Defendant has authorized him to affix their electronic signature to this Joint

  Stipulation for Final Order of Dismissal with Prejudice.


   /s/Anthony C. Norman_______                               /s/ Eric S. Matthew
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   Counsel for Plaintiff                                     Counsel for Defendant




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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
  filed on November 15, 2017 with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se parties identified
  on the Service List below either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.



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                                                /s/ Anthony C. Norman___________
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  AM 67191859.2
